               Case 2:18-cv-01115-RSL Document 106 Filed 09/28/18 Page 1 of 3



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 5                             UNITED STATES DISTRICT COURT
 6                     FOR THE WESTERN DISTRICT OF WASHINGTON
 7 STATE OF WASHINGTON et al.,
                                                    The Honorable Robert S. Lasnik
 8                       Plaintiffs,

 9        v.                                        No. 2:18-cv-01115-RSL
10 UNITED STATES DEPARTMENT OF                      DISCLOSURE STATEMENT UNDER
   STATE, et al.,                                   RULE 7.1 OF DEFENSE DISTRIBUTED
11
                  Defendants.
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14         Pursuant to Local Civil Rule 7.1, Defendant Defense Distributed states that it has
15 neither a parent corporation nor any publicly held corporation owning 10% or more of its stock.

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 LCR 7.1 DISCLOSURE                                                          Immix Law Group PC

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                                                                             Phone: (206) 492-7531
                                                                             Facsimile: 503-802-5351
           Case 2:18-cv-01115-RSL Document 106 Filed 09/28/18 Page 2 of 3



 1 Date: September 28, 2018                 Respectfully submitted,

 2

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             Case 2:18-cv-01115-RSL Document 106 Filed 09/28/18 Page 3 of 3



 1                                  CERTIFICATE OF SERVICE

 2         I certify that on September 28, 2018, I filed the foregoing with the Court’s CM/ECF

 3 system, which will give notice to all parties and counsel of record.

 4         I CERTIFY UNDER PENALTY OF PERJURY under the laws of the United States of

 5 America that the foregoing is true and correct.

 6                                               IMMIX LAW GROUP PC

 7

 8                                               By

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